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Document: l\/lona Chrisp

Case: UNC Chapei Hil| (Jean Estrada)
Case Number: 846-2017-11197

Contin ue Case Number: 435-2017-00671
FEPA Charge Nurnber: 18»CRD-0671
Department: Socia| |V|edicine

incident:l

Complaint: ln Apri| 2016, l ask lean about the new position that Was coming open in our offices | ask
what qualification you must have for the grant position. She told me that | do not have the ski|is or the
qualification (lVly reply l\/lona Chrisp): l told her that's not what my heaven|y father says he said that |
can do all thing through Christ whom strengthen me. Upon that discussion, Yvette Thompson was there
and heard every word that was said. (Witness: Yvette Thompson) Upon her responses; | felt
|NT||V|DATED sol did not apply for the position ifi was not told that | do not have the qualification or
the skills for the position, | would have applied for the position. Jean Estrada was the hiring manager sol
did not apply. This position had to be posted twice, the first round of candidate selection was made but
she said there was some HR issue with the candidates (Witness; Yvette Thompson- Temp)

Compiaint: On April 19, 2016, we Were cleaning up the offices to receive new book case and our Temp
Yvette Thompson move the books from the top shelf, l ask her how she move those books on the top
shelf she said she used a step latter (lean Estrada white) reply she climb up there like a lVlONKEY, she
thought that statement SHE Jean Estrada was iaughing. Yvette Thompson is a Biack AFR|CAN AMERlCAN,
she did not laugh at the comment and neither did i. l don't think as a manager that should have not
been Said THAT WAS A RAC|AL CO|\/ll\/|ENT AND | TOOK OFFENSE TO THAT STATEMENT AS A BLACK
AFR|CAN AIV|ERICAN. |Vly reply (i\/lona Chrisp) to that statement was she did NOT CLA|IV| ON Ti-lE BOOK
CASES LlKE A l\/'lONl(EY. (Witness: |V|ona Chrisp and Yvette Thornpson-Temp)

UNC fail to comply with Civil Rights Tit|e Vll, l was subject to Racist, Retaiiation and Harassment,' l report
these issues to several upper management, which nothing | seen happen. When hiring and promoting i
feel that everyone should be treated equal and fair. | feel that | was not treated fair nor equa|.

After making that Racial Slur iean Estrada tried to hire two BLACK AFR|CAN AMER|CAN first and second
interview candidate BLACK AFRiCAi\| AMER|CAN by the name of Denetha White which she was not hire
so the position had to be reposted. Second candidate was a BLACK AFR|CAN AMER|CAN by the name of
Karen Stone which she turns down the position. Afterthe second candidate turn the position down she
hires (|V|ina i\/|ajcen) white that did not have the experience that was needed to qualify for this position.
This young lady had to be trained for this position. | also would have needed some training |’ve been

working in this department for 1 year and had iearned so much, but with a little training l could have

done this job affectively. |V|ina |Vlajcen stated on her application that she doesn't have no experience in

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using UNC financial system. (Evidence: a copy of her application that was used to apply for the job this
information was giving to me by the hiring manager jean Estrada (White). i\/lina lV|ajcen (White Femaie)
started in Social Medicine on November 07,2017 had to be sent to several trainings. lnfoporte, Budget
training and other training l have been trained in all these areas for over some years. These training l
had before taking the position in Social Medicine. Upon IVlina |Vlacjen being hirer in the department she
was giving approval authorizes and she did not have experience in using the financial system. | had
several transactions that needed to be approved l had to ask lVlina to approve and she ask me was l sure
they were correct; | told her to the best of my ability. (Evidence her application)

On Oct14,2016(1ean Estrada Business l\/|anager sent me a job for me to apply for that pertain to grants.
if l did not qualify for our Grant Position which was in our department than why would she send me a
job that pertains to grants. She sent me the job posting three weeks before (Mina Macjen White)
started in our department (Evidence copy of emai|)

On Novernber 16,2016 l spoke with Jon Oberland about problems that | had with lean Estrada, and he
recommended that l talk with (Shel|y Fritts HR) and Ombudsman. This was my first attempt to solve the
problem, l also spoke with Jean Estrada on that same day.

On November 16, 2016, | spoke With Jean Estrada about my work flow and my work plan. l also brought
to her attention about the Grants Position,l l ask her do she remember me asking her about applying for
the position and do she remember tell me that | don't have the skills or the qualification l-ier response
(Jean Estrada; White) she said that she doesn’t remember saying that and i told her that I have a witness
(Yvette Thornpson; Biack) heard her every word. | also let her know that, that was very degrading and as
a manager l thought a manager is supposed to up lift their employee up not tear you down. She
apologizes if she said that, but she doesn’t remember. She also stated that if she says something like this
again please bring to her attention. Upon me bring up the fact that she told me that | don’t qualify for
the Grant Position, she put on my work plan that we can train in this area. | was never giving that
oppounity before now until N|ina Majcen(White) was hired and l brought this to her attention about the

position.

On November 22, 2016, l\/lina and l had a meeting with lean about Stuart RPPR grant and we discussed
his new budget and how the paper work needs to be process After the discussion, (Jean Estrada; White)
ask l\/iina if she wants to do the paperwork and (lVlina Nlajcen; White) said no, l told (Jean Estrada;
White) that l would like to try and do the paperwork, but | was never giving the opportunity to try the
paper work. Upon that discussion, lV|ina made a statement that none of this makes any since to her,
(Jean Estrada; White) comment was but eventually it will make since correct).

On DecemberOE, 2016, l had a second meeting with Jon Oberlander about other concern the same
concern with different issue.

On january 06,2017 l\/lina l\/lajcen, stated that she did not know how to us into port and l set with her to
show her some of the ways that can help her understand how to use the system. This system is used
where reports and budgets can be found.

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She sent me a job in email back in October 2016 for me to apply for that pertain to Grants. She sent me
three jobs in email back in January 2017 one she though that l should apply for, pertaining to Grants.
She printed me six jobs when we met on February O.‘i, 2017. But however, l do not qualify for our Grant
position. (Evidence) Copies of emails from Jean Estrada

On ianuary 19, 2017, l met with Derek Hoar(White) Empioyee Relation and Shelly Frits (White) i-iR
representative to discuss the concern that took place in Sociai lviedicine upon our discussion i let lvir.
Hoar know how stressful it was working in Social i\/ledicine and his comment was maybe l need to find
me somewhere else to work. l\/iy comment to him was that he was justify what she does is ok. l felt that
statement was inappropriate and | fell that they were not going to help me in resolving this matter, so l
decided to take the matter to the federal EEOC.

On February 01,2017, i had my first meeting with Jean Estrada about my career path and what area |
want to go in. | told her that l don't know but | know that my strong point is finance, She had also
printed out sixjobs for me to look over and maybe apply for. | don't know her reason for her needing to
print me six job application, but it makes me wonder. ifi don't qualify for the Grants Position in the
department how do l qualify for these positions. Copies of emaiis from Jean Estrada.

its four employees that under her supervision, but 3 of us must meet with her two Blacks and one Asian
we must meet once a month. The two other employees have been meeting with her when they first
started, ljust started meet with her on February 2017, | email her on what will these meeting will be
pertaining to she said she wants to meet with her direct reports We have one other employee that is
White she doesn't have to meet with her (Kathy Crosier}. Kathy Crosier Works for the Director ofthe
department but she still must report to her for her annual review she still is her direct report.

On February 16, 2017; Jean Estrada put a registration form in my inbox for her to attend a Society of
Research Administration international conference i ask her for her PiD to do her registration in the Web
Travel system and | ask her what this training for and she was telling me some detai|s. Upon me asking
her l told her that | might wanted to attended the training she ignored me so | stated that | might
wanted to attended again she still ignored me. l spoke with my director lion Oberlaner) and he told me
to send it in email and he will let her know that it is a good idea that l attended the training After | came
back from speaking with the( Directorion Oberiander) i had an email about the training i was never
asked to attend the training. She also stated that she and iV|ina iviajcen will be attending this training

We also had a meeting at 10:00 today that we were prepared for a Staff meeting and Niina |Viajcen
stated that she only been here for three month and has learned so much.

Whi|e we were having, our staff meeting some ofthe people in the department wanted to know why |
was not able to approve web travel and she stated that l cannot be an approval and the processor. l ask
her in the meeting don't you have approval authority and a processor, she stated yes. | was finally grant
access to approve web travel, because there were some complaints about not having an approval while
she was out or if Mina was not in the office.

On February 20, 2017; l spoke with Jean Estrada Business lvianager for the departments about the
training that she (Jean Estrada and lviina l\/|ajcen) will be attending on lviarch 17, 2017 that l was not ask

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to attend. | let her know that | might not be attending that training l found another training that l might
want to ta ke. (Jean Estrada response) that’s what | thought this training is not for you it's for people that
have been doing this for a long period of time. l thought that was inappropriate and that just goes back
to her telling me that | don't qualify for the Grant Manager position. in reviewing the training
information this training was for all levels beginner and intermitted |eve|. (Evidence email documents)

On i\/larch 15, 2017; | had a meeting with Jean Estrada (Business |Vianager) about my Career path and
some other things that might take effect in the department. She also stated that she has been backing
up Mina Macjen the Grant iVianager on some of her work. She also stated that iViina i\/lacjen was having
problem on how to process NiH grants; one question on the application was do you have NiH processing
experience |V|ina l\/lacjen stated yes to that question. (Evidences) Copy of her application that was giving
to me by (Jean Estrada Business l\/|anager.)

On April 2017, lwas due to sign my performance review upon me reading over the information (Jean
Estrada), put a statement in my review that l would like to have removed She stated that | help to select
the candidates for the Grants Position, but l never made any selection in any of the interviews Upon
speaking with her she made a statement that you do know that she was not our first selection (Mina
|Viacjen) she stated you do remember Dee White Which was in the first stage of interviews i think that
was very inappropriate and it made me feel uncomfortable. l've spoken with ion Oberlander on June 19,
2017 about this matter to let him know that was inappropriate he stated that | would need to talk with
HR because there is nothing he can do about it.

in iV|ay 2017, l was making binder for the new fiscal year and Jean Estrada made a comment are you
have fun making those binder and l told her no, she started laughing. i\/iaking these binders are very
time consuming and it can take all day sometimesl iviina Macjen binder was made by the temp Jamie
Ede. The previous year my binder was made by Jamie Ede the temp. l had to put some of my work on
hold so that l could work on the binder because we were coming close to the end of the fiscal year and l
would need these new binders for the 2017-2018 work. | spoke Jean Estrada about my binder being
made and she said that she was going to have Jamie Ede the temp to help me. Jamie Ede never ask me
do | need help with my binder. As (Jean Estrada) being the manager, she could have had Jamie Ede to
make my binder. On numerous accusation she kept asking me did Jamie help you with those binder l
said no, l told her l will get them done as soon as i can.

NEW |NFORMATlON:

On June 21, 2017, l had my monthly meeting to go over any concern that l have. We talk about my
workload and | stated that she took away reconciling grants, but she gives me CBM, which is a
reporting system that we use for electronic charges. Jean Estrada suggest that she train Mina on
voucher and CBN| charges that pertain to grants. However, we never discuss Mina taking over Journal
Entry. in our meeting Jean Estrada suggest that Mina be trained on Voucher and CBM. Jean Estrada
never discuss anything about Mina N|acjen taking over Journal Entry.

We also discuss that Jamie will be helping me with my binder but has not done so. Jamie Ede the
temporary worker in the offices has made ali of (Mina) binder in Aprii & May 2017; l was never giving

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that help, which the previous year Jamie the temp made the binder for the next fiscal year. l did not
have time to make all my binder. Jean Estrada continues ask me have Jamie help me with my binder
on numerous occasion. l told Jean no, but | will get to them as soon as l get time. l report this
information also to HR. l felt that she made my work environment HOST|LE and STRESSFUL.

l have spoken with several higher authorities, jon Oberlander (Director), Wayne Blair (Ombudsman),
Shelly Fritts (HR Representative), Derek Hoar (Employee Re|ation}

Second Complaint/ Reta|iation/ Harassment

On Ju|y 06 and 07,2017; upon my return from vacation l received and email on July 03,2017 from
another department requesting a chart field that was needed from our account department to make a
purchase for one of the Pi that had giving approval for the purchase. lean Estrada business manager
was CC” d on this email as well which she has access to these chart field strings. When the new grants
person was hirer we came to agree that if anyone needs a chart field on a grant they will talk with
Mina and if they needed a chart field on the F&A | was to handle those accounts. Well this
information that was needed was on a grant, (Jean Estrada) did not provide the account number and
had them to wait until | came back from vacation. She replied to the email and told the young lady
that l will be back in the offices on Thursday luiy 06, 2017. l spoke with Jean and ask why did the
young lady had to wait until l come back in the office when she only wanted a chart field and was not
ask for anyone to process the purchases, l also stated that this was a grant and Mina could have giving
her the chart fieid, she stated that Mina don't know how to do that. l stated to Jean Estrada that you
know how to give a Chartfield for this account. l told Jean Estrada Business Manager the young lady
only wanted the chartfie|d this could have been handle without me being here. l also have copies of
the email from Jean Estrada Business Manager about the duties and who does what. l feel that this
young lady should not have to wait two days this could have been handle without me being in the
office. On numerous occasion, i have done Mina Macjen work since she has been in the department
.lean Estrada or Mina Macjen could have given this young lady the chartfieid while | was out of the
offices instead lean Estrada sent an email to the young lady to wait until l come back in the offices.
And this account is handle by Mina, which gave the young lacly the chartfield. Jean Estrada only
handle my work because | reported her, and my doctor took me out of work on medical leave. if she
was trying to help me she would have giving them the account number, This shows a pattern, after l
reported her to HR and EEOC Jean Estrada process some of my work while l was out. (Evidence email)

On numerous occasion l had to have the Pl to sign the invoices before i can process for payment. On
numerous occasion l had to forward email back to Jean and Mina to have the P| to sign the invoices so
that l can process for payment. in the email on November 2017 Jean stated that Mina will handle
everything that l use to do for grants, l will still process the paper work for process. (Evidence email)

l also spoke with Jon Oberlander the Director of the department and let him know my concern about
the situation, he asked do l want him to talk with her or do l want to talk with HR. | talk with HR and

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she sent me back an email and told me l need to talk with the EEO on campus and they sent me the
contact information. (Copy from HR)

August 28,2017 (Mina Macjen) started doing voucher and journal entry for grants, l told Jean that we
never discuss Mina doing journal entry she stated that you do not do journal entry anyway. She looks
at her notes and agree that we do not discuss journai entry. | discuss with (Jean Estrada)

that l do journal entry for Caro|ina Copy and any entry that needs to be corrected. However, | do not
do journal entry for any salary that needs to be done or things dealing with the moving money for a
budget. (Evidence copy of email)

On August 11, 2017, l sent an email to Jean and Jon about in shadowing a young lady in OSR which l
got approval from an OSR manager to learn more about grant and how they are process. On August
14, 2017 Jean Estrada send me back an email and told me that she and Jon Oberlander (Director)
needs to discuss. On August 18,2017 Jean Estrada email. me back some question that she and ion had
for me answer. After reading over the question in the email l sent Jean and Jon no worries about the
training / shadowing. On August 21, 2017 Jon Oberlander (Director sent me back an email) Copy of

email.

On September 08,2017, Jean sent Me and Mina and email to for workf|ow chart that she had created
and how the offices will flow. This work flow chart was done after l reported her on July 2017 because
l reported that Mina Macjen work was being pass to me. This shows a pattern after l reported her she
comes up with a fiow chart.

On September 20,2017, l met with Jean and she ask me how my work load and | was told her that it
was slow and she stated to me isn't that what your wanted, l told her no. l feel like she was trying to
coerce me to say yes, that what l wanted. Jean was the one that suggest that she would get Mina to
help me. Mina also supposed to be trained on CBIV| transaction but Jean stated that Mina cannot do
CBIVI charges because she has other things to do. Jean Estrada suggest that l would started doing
voucher again back in October 2017. She also shows me how to do a budget report on grants. This
situation has been so stressful for me with the back and forward.

ln first part of October 2017| requested a meeting with Jon and .lean; in the meeting l request again to
train/ shadow at OSR and Jean nor .lon ask me any of the question that pertain to the first email. Jean
suggest that l train with someone in the Schooi of lVledicine, l told her that l want to train in OSR
because l have already been giving permission by the manager in OSR. lon and Jean agree with me
going over. l went over to train / shadow in OSR on October 16,2017 as a whole day. Jean sent me an
email and told me to take notes and bring back a list a thing that was discuss. P|ease a copy of my
performance review that Jean Estrada stated learn the grant process and find opportunities to utilized
knowledge to learn grants. So, l was trying to find other hands on training that can help my career
path. (Evidence copy of email document)

On October 19,2017 which was my birthday Jean Estrada Business Manager came in my office and
close the door and song Happy Birthday. Upon her being in my offices l did not know why she needed

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to close my door to tell me Happy Birthday. However, upon her in my offices l was reading my email
and a job posting came in my email box pertaining to a grants position at OSR. She told me you know l
hate to loses you but you should apply for that position and see if l get an interview and if l do not get
the job at least | would know how the interview would go. l do not comment on her suggestion,

On October 26,2017 we were having our staff meeting and we had special guest lShelly Fritts HR) and
HR Benefits upon getting ready for the meeting there was handouts on the tab|e. l was setting beside
She|ly Fritts HR, l was getting ready to get my hand out and Jean Estrada Business Manager stated
what if l make this out of an airplane and fly this over to you, my comment was please do not fly that
over to me it might hit me in my face. She stated l do not know how to make an airplane anyway. No
one in that meeting was treated that way. (Shelly Fritts HR) was sitting beside me when this happen.

On October 26,2017 we were interviewing for administration position in bioethics there was three
candidate, (Danielle Kelly- White), which l was not invite to attend her interview, Erica Koiki- Black
which l attended her interview, and (Brandy Elsenrath White) l do not attend her interview. Jean
Estrada sent an email out for everything to give her feedback on the candidate. Jean Estrada ask me to
give feedback on (Erica l<oiki- Black), l told her l only ask her one question and she answer truthfully
and from the interview she was a nice person. Jean Estrada sent me another email did l get the
impression that she could do a good job and get along with faculty and/ admin staff. l sent her back
an email that stated from the interview she is a nice person. l feel that Jean Estrada wanted me to say
something bad about this young and l had already answer (Jeans Estrada) question. (Evidence email)

On December 14,2017, and talk about me doing CBM transaction, but we never discuss me creating
voucher for this account. Piedmont Health is an account that is house in another department she
suggests (Jean Estrada), that we process everything within our department Rachel Quinto works for
Giselle Corbie Smith she handles all of Gisel|e voucher and payment which this account is something
that Rachel Quinto would handle. On january 17, 2018 Jean Estrada forward me an email to create a
voucher for payment for Giselle, l created the voucher but l sent Jean an email to let her know that we
only discuss me doing CBM for this account not voucher. l also sent her an email that Rachel can
handle the next one. (Please see copy of email and voucher that was process.

On December 15,2017, l was going back to my office and as l was going back to my office Jean ask me
to come in her office she ask me to close the door. She stated that you know l hate to lose you but |
think this position would be great for you to apply, she stated as a manager she would not be doing
her job if she does not help me with my career path. l look over the paperwork that she prints for me.
As l look at the salary l told lean that this salary is less than what l am making, l told her that l would
look it over. And l left out her offices. This makes me feeling like she is trying to get me out of the
office, because on numerous occasion. l feel like this is a form of Harassment. This position is paying
less than what l make. We never discuss lean Estrada to find me jobs she only supposed to train me

on grants. (Copy of job posting)

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On lanuary 05,2018, l had a meeting with lon Obelander (Director) about Jean Estrada printing me a
job to apply which pays less than l make. l ask can he please talk with Jean about printing me off jobs
to apply for, l discuss with Jon that we do not have a working agree for her to find me a job, we only

agree for her to training me on grant. He said he will talk with her. (That’s in my work plan for her to
train me on grants not find me a job).

On Januarys 16, 2018, we were having our staff meeting and we had a new employee that started in
the department so everyone was introducing there self and Jean Estrada Business Manager had left
out of the room to get something out of her offices. After coming back from her office, l was
introducing myself to the new staff member Brandy ELsenrath (Jean Estrada Business Manager) stated
that l (lVlona Chrisp) will get you straight, l told the new employee that l will not do that, that's not my
job and Disbursement Services is the one that handle that information. Another employee came in the
meeting late a temp by the name of (Jamie Ede White employee) that had to introduce herself and no
comment was made about her by the Business Manager (lean Estrada). | feel that the last two staff
meeting we had (Jean Estrada Business Manager) has made a comment or treated me a certain way
no one else in these meeting has never been treated this way. lBrandy Elsenrath Witness l would like

to su bpoena)

Since January 2018, Jamie Ede- White temp has been hired a permanent employee in Center for
Health Equity Research, which this department is a part of Social Medicine. No previous UNC
experiences.

Since January 2018, Danielfe Kelly- White temp was a temp June 2017 has now been hired as a
permanent employee in Social Medicine. No previous UNC experiences.

On December 13, 2017 Jean included me in on an email from OSR about coming over and meeting
with the staff and to discuss grants. Which in my work plan l suppose to be trained on grant? On
March 1,2018 Jean and Mina meet with OSR and l was never included in the email as to when they
would be meeting. l was coming out of my offices and lean, lVlina, Karmen and Chester was coming
out of the meeting. However, Jean and Mina walk pass me Chester Wil|iams was walking toward the
exit and he seen me and came to say hi and he stated that you came over to shadow Alicia for grant
processing. He also stated what office do you work in and l told him that l work with Jean and Mina. l
was never included in this meeting for grant processing which this is in my work plan l suppose to
learn about grants. (Evidence email from Jean Estrada)

Jean Estrada supposed to train me on Grant but l only train with her on a Budget report and Mina has
only train me once on a Subaward.

Jean Estrada, has shown a pattern, of RAC|ST, Harassment and Retaliation, every time l report her she
tries to act like she has been helping me but she has been making my work environment HOSTlLE and
STRESSFUL. She continues to leave me out of meeting and she also continue printing me jobs one
which pays me less than what l make.

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On February 21, 2018 Jamie Ede, put a voucher in my box to be posted in the spread sheet which is on
one of my account that | manager. So, l call Rachel Quinton and ask her about these funds, and she
stated that lean knows about this account but she will email her to let her know you do not know
about these rufunds. Jean stated that she has not set up the spread sheet yet. Jean Estrada was
notified of these funds since lanuary 2018 and l was not made award of these funds. Rachel forward
me the email that she receives from Jean Estrada. However, l normally set up the spread sheet when
funds come in. (Please see email document) Please see previous email from Jean asking me to set up
spread sheet for funds that normally comes in, she was withholding information that affects my work.
lt can affect my reconciliation for the month.

On March 20,2018, lay B|and from NCOH sent me an email on what remdies was l seeking and l send
him an attach document of the remedies on Friday March 22,2018. He reviews my remedies and told
that he need to talk with me about the punitive damage, and he was going to call me at 12:00, but
howeverl never receive a call from him. He sent an email and said that he was waiting on a response
and when he hears something he will let me know. But l never receive anything from him. One of my
remedies that l was seeking is to be move to another department under another manager. UNC do
not comply with any for the remedies that l was seeking, l have several disabilities that has flare up
due to the Stress. READ|NG EEOC RULES you do not have to be fire from your job are demoted for
retaliation/ Harassment to take place. He said he looks at three facts and l meet two of them. So, l
feel my case was never giving a fair chance. |n order for me to show a pattern l need to show all my
documents and l need to subpoena the witness to court. They sent me a letter of Right to Sue.
(Evidence copy of email) copy of email remedies seeking.

EEOC also sent me a stated that Jean Estrada stated that since this has happened she has been
showing me favoritism. l feel no should have to file a complaint to be treated fair and equal shou|d.
(Evidence copy of document)

l was also out of the offices July 2017 for eight days due to the stress in my offices. (Please see notes
on July 2017 that pertain to what happen) l had to use my vacation days and sick time in order for me
to get paid. l had just come back in the offices from vacation and had to use more time due to the
stress in the offices. On April 06,2018 due to the stress in my offices my medical conditions require me
to go out of work on Medica| Leave FIV|LA. l have been out of work for almost 12 weeks and will be
going out on Short Term Disability after my FlV|LA expires. lV|y FMLA expires June 28,2018.

UNC Chapel Hill fell to comply with any of my remedies and because of this l will l had to go out on
FMLA follow by Short Term Disability, l cannot go back into the same office that has put my health at
risk. (Evidence from my doctor.) copies of my paperwork.

l feel that my case should be filed in Federa| Court due to the fact that all my evidence was not taking
in consideration. l fell that Civil Right Laws was violate and UNC fail to comply with the law. l have
several witnesses that l can subpoena to court as witnesses. UNC Chapel Hill also fail to make
reasonable accommodation for a person with an ADA disability. l have other ADA Disability since luly
2016 which is an ongoing disability that UNC Chapel Hill is aware of and has fail to make little

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reasonable accommodation. l have evidence from UNC Universlty Employee Occupational Health
Clinic where l file my work injury. Please see ongoing attach ADA disability since July 2016. Please
consider hearing my case in Federal Court.

Please forgive any typo error or anything that you do not understand, l also have a binder with copies
of documents that can corroborate everything that has an email trail or copies of information that she
has given me. The binder is too large for me to put in the mail, so l will wait until l hear from you to
find out the best way to get this information to you. le contact information is 757-237-0206.

Thanks,
|Vla|ia Chrisp

Reason:

Mina Macjen (White) was hire On November 07,2016 for the Business Officer Posltion; | ask my
managerlean Estrada (White) about apply for the position and she told me that l don’t have the
qualification or the skills. l\/lina Macjen (White) doesn't have the skills for the job she must be trained
and l would have needed some training as well. l feel that | was not giving a fair chance to apply for the
position. Due to that state that was made by Jean Estrada(White) l didn't apply for the position because
she was the hiring ma nager.

Yvette Thompson(Black) was hired as a(Temp) she worked in Social Medicine in the CHER Department
for several months. Upon her time in the CHER Department she was the first person to show up in the
offices but (Jean Estrada White) didn't allow her a key so she had to wait in the hall until someone in the
department showed up sometimes it wasn't until 8:30am. Sometime | would see her setting in the hall
way. lt was times when | ask her to ask Jean Estrada(White) to let her in the office, but (lean Estrada
White) was not nice to Yvette Thompson{B|ack). Sometime our Administration Assistance would let her
in her suite. Vvette Thompson(B|ack) was miss treated by (Jean Estrada Business Manager White). After
Yvette Thompson, (B|acl<) Temp services was ended in the CH ER Department she was ask to work in the
Administration Department in Social Medicine as a Temp. Upon her working in the Social lVledicine
Administration Department, she was told by Jean Estrada(White), that she climbed on a book case like a
lVlONKEY. |Vly response (lV|ona Chrisp) she didn't climb on that book case like a l\/lONKEY. After Yvette
Thompson (Blacl< Afro American) resigning her position lean Estrada (Business Manager White) hires
another Temp by the name oflamie Ede(White) which have been in our office for several months. Upon
Jamie Ede (White) working in our offices she has been allow key to the offices and other important
documents Yvette Thompson (Black) was not allow keys. l think that raises some concern and some red
flags. Yvette Thompson(B|ack) was not able to have keys to the offices and Jamie Ede(White) has keys
and have access to other important documents Upon Vvette Thompson (B|ack) working in the Social
Medicine Administratlon Department she was told she claimed on a book cases like a MON|<EY (RED
FLAG). l think that no one should be label as an animal; no matter what your skin colors are; we are all
peop|e. Tl-|AT WAS A RAC|AL COl\/ll\/lENT AND l TOOK OFFENSE TO THAT STATEIV|ENT AS A Bl_ACK AFRO

AMER|CAN.

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ADA Disability with very little Accommodation

On July 13,2016 upon working in my offices at the l\/lcNider Building at UNC Chapel Hi|l, l was in my
offices when l started coughing, became hoarse, and was breathing hard due to the coughing. One of
my co~worker came in my offices sa me the walls was wet and the floor became wet and she reported it
to my manager, because she was having problems breathing due to her Asthma. lVly manger report this
to Environmenta| Department. They came and review the area, they stated that there was condensation
coming through the wall due to heating and air. My manger Jean Estrada and my Director Jonathan
Oberlander and HR She|ly Fritts they recommended that we needed to file an injury report, which l did
and they also recommended that we go to the Universlty Employee Occupationa| Health Clinic in cases |
needed to claim an ADA/ Workman Compensation. They also let us Work from home for several days
until they figure out What was going on in the building After going to the Clinic and filing my claim and
letting them know the symptoms that | was having and let them know about my possible Asthma. They
recommend me to continue to see my Primary Care Physician. (Evidence: copy ofdocument from
UEOHC | went to my doctor for my Al|ery Testing and my Asthma test.) |Vly doctor said that l have
environment asthma, which now l have to carry an EpiPen and an Asthma Pump. (|-lave copy of my test).
EHS also was trying to put Me and my coworker in a temporary office, one offices was on the third, the
second office Was on the first floor. When l enter the offices on the third floor by the elevator, the
ceiling was |inklng, water was running down the pipes and water was on the floor, rust spots were by
the pipes and black spots was on the wall. (Evidence: copy of a video of the room and picture of this
office on the third floor, l also have copy of emails.) (| have copy ofemail from EHS). The second office
was on the first floor When l enter that offices which was in the same building it had a very bad musty
odor so l decided not to work in that offices as we|l. |n the email that we receive from EH.“S stated that
they were going to find us a space to work but it would be later down the road. We still have problems
in this building and we have one of our conference room 340 the ceiling has come down numerous of
times. The last time the ceiling was linking in conference room 340 was in l\/lay 2017 that l am aware of,
normally EHS let the room dry out with fans and buckets place under the ceiling to catch the water that
was linking from the ceiling. They also tried to make some reasonable accommodation by putting in
dehumidifier, which they were supposed to empty which that never happen, Jon our Director had to
dump them because they were fell of water. They also put in Al|egiant Fi|ters in several offices. Since all
this has happen in 2016, | had to see my doctor six times dues to my allergies and five times in 2017
which on two occasion l had to have Allergies injection which l had to use vacation time are take no
lunch or make up my time. | know that l was out several other times for my allergies and l self-
medicated myself from home. They also had water problem on the first floor in |VlcNider Building
ianuary 01,2018 where they had to call the After-Disaster Team to come on campus. lVly last episode
was l\/larch 2018 where they were doing work on our floor and me and my co-worker was got sick, so
she talks with our director so that we can work form home. This is an ongoing problem in this bullding.

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336 in Ml:l t wILL CoNrACT EMPLoYEE rN/oN

/MFMWMQ RETURN To UnoHc

ignoring

CHRlSP, lVlAl_lA 8

Universlty Employee Oc`:cupat.ional Health Clinic

Universlty ofNortli Carolina at Chapel Hill » _ l

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Chapeiaisi,Nc21599-1649 Se><: d nn 72039@52@
Pn 919-966_9119 rx 919_966_6331 mm WALK |N

Return to Duty: Work-related injury

/_Lg_lb_i§ll_l.eyflli@»ew@~” j jr : fig Q;D[Qlllm.©
ate of ln_iury Type ofinjury
Hefshe Was seen at UEOHC on l):\ 3 ] l li Q for a work-related injury.

He/she Was written out of work by UEOHC on due to a Work-

related injury

He/she is referred to his/her primary care provider for his/her medical complaint

He/she is out of work until

He/she should not return to work until after lie/she has been seen back at UEOHC.

He/she may return to work as follows`:

l:l seem m am duty wlrnou'r RESTRICTI()NS an

i:l Return to duty WITH the following RESTRICTIONS on
until next clinic visit unless noted elsew
activity restrictions may - or may not - represen

l\ere. 2) restrictions are

PLEASE NOTE: 1) restrictions are to remain in effect
t work restrictions

medically indicated, and 3) depending upon job duties,

[]Restrict lifting /' pushing / pulling to 3 pounds

o ¢ _'_‘__F____-'_-
l:lNo lifting from [Jiloor or l:ll<;nee level

l_':lNo overhead movementfwork
l:li\io repetitive or prolonged flexion! extension of the l:]neck [fllower back

l:lNo lifting Right/Left ann 2 pounds
[:ll\io ladder Worlc

l:lNo prolonged sitting/standing

UNo squatting, kneeling, or crawling

>QOTHER= `“ie C,MW ~n) yca nw Jlr<@ slow rcr jail
t;i”f¢*”* erb 115 wreck O.N(/wrv\,a`)j §l/u; i<‘) 'l‘© »'é&"@{i“@
To canon on PnoGREss

days/weeksfr_nonths

Li/i l/l`ri°,Yn `
Z’SV“O?))J l:l RETURN TO UEOHC only if sym toms continue
965le L¢,J,A/\ l,\;) p

mi&e/\ii~/‘©'lj REPoRTTo' .'
mel-nlrb coal/owners § ;i

sewall/30

i/X]//U»_/ i/Yw/

pn,@l@lawe

fumes Hill. MD Ei§y Gamble, RN Pam Mlner, RN Date

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_______-_ E@EKWE _ ic nies

worth Cee£ins_b_da§!tial Comwi§$fos

 

j Emp_ code l jfund l _`_l_TJ"e-- ' l
__,_M__.____l_ _______ __ _ _____ __ pt t
. __ _ ____ y _ *Emp_ Cocie # 0006020
, ii ‘_, ' ___~“”
EMPLoYER s REPORT or EMPLorE_E ’S INJURY on _ ‘ 711 f 7 3315 - l - 3
OCCUPA TIONAL DISEASE TO I C rt ‘g:h vi J Camer Code # eif
THE NDUSTR[AL OMM
To the Employer: MrM-nnnn"u\¢;"»hw Employel` FElN
A copy of this Form 19 accompanied by a blank Form 18 must be ' -
_ j , _ given to the em lo ee. ltd earner Hle#
not satisfy the employee s obligation to file a claim. The fiiin of this re o 's re gir:d b ladies *Requ;red |m=m.m g
` 3 lDl’!.

 

This form MUST be transmitted to the industrial Commission through your insurance Carrier.
The l.C. File # is loe unique identifier for

;:_th; Employee: _ l _ misinjury.'itwiu be provided ny return
is _orm 9 is not your claim for workers compensation benefits To make a claim you must complete ‘e“m“‘j “" “’ be '°““`md ‘“ a"‘““"E
and sign the enclosed Form 18 and mail it to Claims Administration, N.C. industrial lCornrnission 4335 wnespnndence'

lvlail Servlce Center. Raleigh, NC 27699~4334 within two years of the date cf your injury or last payment

cf medical compensation Fcr occupational diseases the claim must be fried within two years of the date

of disability or the date yourr doctor told you that you have a work-related disease, whichever is laier.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

The use of this form is required under the provisions of the Workers’ Compensation Act j 203 "` JI'D§S‘ (P
éfY\| IA’\ iN£`-\ § Ur\@,¢§_l/O Universlty of North Caroiina at Chapel Hill (919) 962-5507
m oyee‘s amc _ ' Employer's Namc Telephone Number
é@@{;)‘ 0 jr@§~l~ LLfC&;l (1 j, 3120 Esies orsz extension ca: 1650 chapel Hm we 27599
Ad _ _ __ 1 Employer`s Address City Sbale Zip
item b r\{i§ hon l\JG, §%`H§ Ser
a Ciiy ' Siate Zip insurance Carrier Policy Number
'?5;1 a.?“'i~oew nn as sara sr
Horne Teie one Work Teiepho Cam`er's Acidress City Stale Zip
i:i u [El/F` l ) c )
Social Security Number Sex Date of Biith Carrier‘s Telephone Number Fax Number
Eior 1_o'ntufi" ,_-{?" - .
mp ye ive -a re o emp oyers business j Mcl‘ J/{\;Y' g § rker m ({; H. 5 )
2_ Location of plant where injury occurred fmc lUi fide RJ./i \¢:l
'i'ime County ' Depa»rtmentj'lj{"ju ,/-‘ljpyf-’,_, § l/f ;{\E,tate if employers premises
And 3 Date ofinjuiy'f lj$l;bjtp¢l. Day of week `” Hour`?)f day 51 : 510 |ET¢\_N|_ l:| P,jy|_
P|ace 5 Was employee paid for entire day 6_ Date disability began l i' l:l A_M. i___l P_lyl.
7_ Date you or the supervisor first knew of injury'? i{?i 'g_£,y¢ 8. Name of supervisor z,_g&“ Hg~j»v-¢sg;[§;
9. Occupation when injured ji‘(if’@, U`_;l' -`l“\{,
Person 10 (aj Time_ employed by you ":’ {b) Wages per hour $
injured 11 (a} No. hours worked per day (b} Wages per day $ (c) No. of days worked per week
(d) Avg. weekly wages wl overtime $ (e) ii board, |odging, fuel or other advantages were
furnished in addition to wages, estimated value per day, week or month. $ per
12. Describe fully how injury occurred and what employee was doing when injured jj UG,;S Mnm\:,\s§
Cause ‘ \ \ - ,. ‘ _ ___
And Nature \ n M O'(:(‘* C@» ( CWL$F`*$:'/~JP\ \';’h @f\. L)j¢'*-\\ 64#\¢€ Pl¢_‘>¢“>y"§
Of injury
{Statement made without prejudice and without vouching for correctness of information}
13. List all injuries and specify body part involved (e__g. right hand or left hand) ` i'°¢P-¢L ;C;O.»L§ if\.§ /\C(>
w walls/he r~<: , draws , _POS'E>\ \oLf-’ @SWM, l overseas-adi §
14. Dete & hour returned‘tfl' work / )' at : .lvl. 15. if so, ai' what wages $ per
16_ At what occupation 17_ Employee’s salary continued in fuil?
18_ Was employee treated by a physician
Fatai Cases 19. Has injured employee died 20. ii so, give date of death (Submit Form 29) l l
Empjoyer name DaiE COi'TlpleEd f ll
Signed by Officia| Title
DSHA 301 lnfcrrnation:
Case Number from Log: Date l-lired: Time Employee began work on date of incident if ofi»siie medical treatment providedl
l l ; [:l A_M_ |:] P_jyj_ answer entire next iine_
Address: Streeb'Ciinyipfl'e|epnone ER visit‘? Ovemight stay?

 

 

 

 

l:lYes ENO E¥es l:]No
Attention: This form contains information relating to employee health and must be used in a manner that protects the confidentiality of employees to
the extent possible while the information is being used for occupational safety and health purposes

Name of facility:

 

 

 

 

SELF-INSURED EMPLOYER OR GARRIER MNL TO:
NClC *- CLA§MS ADMlNlSTRAT[ON

   
   
 
   
 

Foau 19

8[1)'08 FOR le USE ONLY 4335 unit sERvicE csNTeR

PAGE ‘l oF 2 RESB“G“ER: _- RALE\GH, NoRTl-i cARo:_iNA 27699-4334
uaw TELEPHoNE: [9‘19) 807-2500

1 9 HELPqu: (800) 588-8349
FORM wessn's: HTTP:li'www.coup.srnre.uc.usf

DATA Ern'nv‘.

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___W_.____,____.._. , _____

sir iii iii
' ' 'ii'uPoi-'<Tpetr ii~iFoRMATioN roe EMPLoYER "
ii i_-'i 4
Employer must furnish &`copy of this form, as completed, to the employee ortho empioyee’s representative when submitted
to the insurance Carrier or Ciaims Adrninistrator_ for transmission to the Commission. Every question must be answered. This
Form 19 must be transmitted to the Commiss§‘rii through your insurance carrien'ciaims administrator, and is required by law

to be filed within 5 days after'knowiedge of accidentl Employer must also give employee a blank Form 18.

lMPORTANT iNFORMA'iiON Ft')R EMPLO‘(EE
Reporting an injury

if you do not agree with the description or time of the accident given on this form, you should make a written report of injury
to the employer within thirty (30) days of the injury.

Making A Ciaim

te a Form 18, Notice of Accident, within two years of the date of the injury and
to your empioyer. The employer is required by law to tile this Form 19, but the
filing of the Form 19 does not satisfy the employees obligation to file a ciaim. The employee must tile a Form 18 even though
the employer may be paying compensation without an agreementl ortho Commission may have opened a tile on this claim. r-\
claim may also be made by a letter describing the date and nature ci the injury or occupational disease This letter must be
signed and sent to the industrial Ccmmission and to your empioyer_

To be sure you have iiied a ciaim, compie
send a copy to the industrial Ccmmission and

FOR ASSiSTANCE OR TO OBTA|N A FORM 18 FROM THE iNDUSTRiAL COMMISS!ON, YOU MAY CALL '(800) 688-8349

" ii " use Your~z i.c_ FiizEnui\/isseis$i<uown) on s.ociAL sscuRirY Nuivissn on
ALi_ ruruae coRREsPoNcENcs with Ti-iE commission

[SPANISH TRANSLAT|ON}
iNFORMACiON iMPORTANTE PARA LOS EMPLEADOS
Reporte de una Lesion (Reporting an lnjury}

d no esta de acuerdo con la descripcion o ia hora del accidente que aparece en el formulatio, debe hacer un reports

Si uste
eador dentro de un periodo de treinta (30) dias a partir de ia fecha de ia |esion_

de ia lesion por escrito y darselo a su empl

Como Presentar una Reciamacion (Making a Ciaim)

Para ceriorarse de que ha presentadc una reclamacion. complete el Formuiario 18 Notificacion de Accidente dentro de un
periodo de doe enos a partir de ia tacha de ia lesion y envie una copia a la Comision industrial y una copia a su empieador. Por
iey, el emplea~dor debe presentar el Formuiario 19, sin embargo, el presentar el Formuiarlo 19 no oumpie con la obligacion que
tiene et empieado de presentar una reciamacion. Ei empieado debe presentar el Formuiario 18 aunque el empieador este
pagando compensacion sin tener un acuerdo o si la Comisic')n ha creado un expediente con respecto a esta reclamacion_
También se puede presentar una reciamacion por medic de tina carta expiicancio la tacha y la naturaieza de ia lesion o la
enferrnedad ocupacionai. Esta carta se debs firmer y enviar a la Comision industrial asi come ai empieador.

PARA. REC!B|R AS}STENCIA 0 PARA OBTENER EL FORMULARiO 18 DE LA COM|S|GN iNDUSTRiAL, USTED
PUEDE HABLAR AL (800) 688-8349

EN TODA LA CORRESPONDENC|A QUE ENViE A LA COi\/iiSiON iNDUSTRiAl_ POR FAVOR ESC-RiBA
EL NUMERO DE CASO DES|GNADQ POR LA COM[SION [iiiiii}tiij|'lii i_i {Si LO SABE)
O SU NUMERO DE SEGURO SOCIAL. _

 

 

 

 

 

 

/)
Employee Signature: sw O‘LL‘ /1 Date: a"7 l oral g_b/w
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ssi_i=-iusuasn sni=i_cvsa on cARRiER mAiL ro:
FoRivi 19 Ncic - ci_Aiivis Aci.iiNisrRAnoN
811/08 4335 MAii_ sERvics carmen
PAGE 2 oi= 2 FORM 1 9 RAi_E:eu, years sanction 27699-4334
MAiN TEL.EPHONE: (919} 807-2506

nsi_i=i.li~is: (800) 588~8349
wassrre: i-n'rP:/iwww.ooriip.srare.ric.usi

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Universz'iy OfNorz‘h Carolina at Chapel Hill

APPENDIX A
EMP|__OYEE'S ACC{DENT REPORT FORM
UNIVERS|TY OF NORTH CAROL|NA AT CHAPEL HILL

 

THlS FORM |S TO BE CON|PLETED BY THE EN|PLOYEE AND FORWARDED TO THE HEALTH AND SAFETY
OFF|CE AS SOON AS PRACTICABLE AFTER THE lNJURY. (SEE HUMAN RESOURCES MANUAL)

 

ACC|DENT DATE
“7 l ¢3 '~» vi | 901\.¢

1. NAME OF EMPLOYEE:

mea/mg €. C~/M¢j\p
1
2. DATE AND T|ME OF INJURY:

"1 1131 ;1<>1@
3. DESCRiBE HOW THEINJuRY occuRRED: w cz:\'€>v ¥\`mv\ ‘~H’~é’. Cew»r(&ng@;\i{m
»QQW “H'£ MO"£’"‘U“°`€* C“W “€iOC‘*" Gi;'\c*»(u.?oll,i¢$

 

4. DESCRlBE WHAT JOB DUTY YOU WERE DOlNG AT THE TIME QF YOUR INJURY:

3:)\ nw ULC-\CG bUOv*lL/"H"'gg CG~@CM¥~/lg>

 

5. DESCR|BE wHAT PART 01= YOUR BODY wAs lNJuRED: ~H’\ WOCUF 1 Cm§h`z nd /

bm_>w,;.r\g/ eng,§ 6 [:)z;gs.`bl{ MJMMQ,§ H&Org@wgg$

 

DESCR}BE WHAT YOU WOULD RECOMMEND TO PREVENT A REOCCURRENCE: .

January 1998

Case 1:18-Cv-00542-TDS-.]EP Document 2-1 Filed 06/22/18 Paoe 15 of 21

University of North Carolina at Chapel Hill

 

T. FURTHER iNFORMATfON YOU WOULD LlKE TO iNCLUDE REGARDiNG YOUR INJURY:

 

W\ C/W\ 7[517/9@!¢@

EMPLOYEE SIGNATURE _ DATE

 

Ianuary 1998

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investigation Number:
UNC Health and Safety Of't"lce

REQUEST FOR lNDOOR AIR QUALITY lNVESTlGATlON

 

 

Building: `MC w \LCL.Q/v’ Occupant Name: M\Q" \ c`p` § " ()/|/\ t'L tmi/0
Department: § DQ¢`E §~`J` M€é{l§ "`iliL/C Work Location: g L`lL g Ptione #:_‘E__
care 1151_*(_19@[ Lé, “75“'7"

ear rowe
SYMPTOM PATTERNS

C‘CU~S"\€ "“§_~_-', / WV_OH":{_J

What kind of symptoms or discomfort are you experiencing? BN¢\\#» ~`. r\& j
`€£'"Y_§/ Vl» GC».Y Wd§.£

Are you aware of other people with similar symptoms or concems? Ms l:] no

 

if so what are their names and iocations?

Do you have any health pro blame that may make you particularly susceptible to environmental problems?

[:i contact lenses !:] chronic cardiovascular disease |:I undergoing chemotherapy or radiation therapy

Mergies [:| chronic respiratory disease lj immune system suppressed by disease or other

causes
l:l chronic neurological disease
TlMING PATI'ERNS
When did your symptoms start? »1 l \; z Qg'>\ LP
When are they generally worst?
L`L) \~£/ir\ "S,)M acts m.':JC>\/“'\C..»
Do they go away? if so, when? \ k
L;)Ly‘{’ WD+W |O":‘“`n "'n‘ ML’(

'Ti.@_ l/\ Og,,,e$e,pasz §o€& FMC""'£ j
~_/ ` "` ii trw ! g
%D€_h {{/`\r§ mg C’D% tu or humidity changes, or activities in the

Have you noticed any other events (such as weather events, tem
building) that tend to occur around the same time as your symptoms? q .@$

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SPACl/-\_L PATTERNS

Where are you when you experience symptoms or discomfort?

94 identify W{\;,`Q\Cv" Bwi`{€,}\.i`r~£. (§"‘t&/§Li*; a 5

Where do you spend most of yourtime in the building? timm ~.1 f 49 L_Uk\)-\ § \ Lt/ ‘¥ 15

ADDITIONAL INFORMATION

Do you have any observations about building conditions that might need attention or might help explain your symptoms

(e.g.,_t_e_n_lp§;ature. humidity, dratts, stagnant air, odors, recent painting, new carpet or furnishings)?
J-'-_“ _:,,.__-\

Has there been recent remodeling or changes in your home environment (e.g., painting, new carpet and/or fumiture)?

Please exptaln. ¢,>J §

Have you sought medical attention for your symptoms? \J[.j_%

Do you have other comments? twa

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Ei-:oc Form 151 iiins) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMM|SS|ON

 

DisiviissAi_ Ani:) No'ricE oF RieHTs

 

TOI Matia S. Chrisp mef Charlotte District Office
2906 Crestwood Court 129 W. Trade Street
Burlington, NC 27215 Suite 400

Charlotte, NC 28202

 

|:[ Ori behalf ofpersori(s) aggrieved whose identih/ is
cONFiDEivTiAL rze ci=n §1601_ r(ai)
t.-".EOC Charge No_ EEOC Representative Telephone No.
Renee E. Grube,
435-2017-00671 State & Local Program Manager (704) 954-6446

 

__ THE EEQQ_!S C!.._QSING_!T_S FILE ON THLS_ CHARGE FOR THE F_QL.|.OW|N_G R_E_ASQNZ _ ________ _

The facts alleged in the charge fall to state a claim under any of the statutes enforced by the EEOC_
Your allegations did not involve a disability as defined by the Amen'cans Wlth Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes

Your charge was not timely filed with EEOC; in other words, you waited too tong after the date(s) of the alieged
discrimination to file your charge
The EEOC issues the following deten'nination: Based upon its investigation, the EEOC is unable to conclude that the

information obtained establishes violations of the statutes This does not certify that the respondent is in compliance with
tile statutes No finding is made as to any other issues that might be construed as having been raised by this charge

[ll]E[l[l

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge

Other (bri'ei‘ly slate)

l:lH

- NOT|CE OF SUlT REGHTS -

(See the additional information attached to this form.,i

Title Vll, the Americans with Disabilities Act, the Genetic lnformation Nondiscrimlnation Act, or the Age
Discriminatiion in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court ‘{our
lawsuit must be filed WlTHiN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

(3 years for willful vlo|ations) of the

Equal Pay A_ct (EPA): EPA suits must he filed in federal or state court within 2 years
more than 2 years l3 yearsl

alleged EPA underpayment This means that backpay due for any violations that occurred
before you file suit may not be collectible.

 

n behalf of the Cornmission

w May ie, 2013

(Dal.‘e Maileo‘)

 

EF‘C'°SUFSS(S) Rei.iben Daniels, Jr.,
Director

CC'.

Mary Crosby

Assistant University Counsel

UN|VERS!TY OF NORTH CAROL|NA A'l' CHAPEL
Hll_L

110 Bynum Hall, Carnpus Box CB 9105

Chapel Hill, NC 27514

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Enclosure with EEOC
Form 161 [11.'15)

lNFoRiviATioN REL_ATED To Fir_ii~ie Suir
UNDER 'ri-iE LAws ENFoRch eY "ri-iE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
if you also plan to sue claiming violations of State iaw, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title Vll of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic information Nonciiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRiVATE Sui'r RiGHrs --

in order to pursue this matter furtherl you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date_ Once this 90-
day period is over, your right to sue based on the charge referred to in this Notlce will be lost_ lf you intend to
consult an attorney, you should do so promptly Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, lt is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U_S. Distrlct Court or a State court of competent jurisdiction (Usually, the appropriate
State court is the general civil triai court_) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney_ Filing this i\lotlce is not enough You must file a "compialnt" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court_ if so, you should remove your birth date from the
charge_ Some courts will not accept your complaint where the charge includes a date of birth_ Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged iri the charge Genera|iy, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office lf you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing sult, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRivATE SuiT RiGHTs -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years {3 years for willful violations) of the alleged EPA underpaymentl back
pay due for violations that occurred more than 2 years 13 yearsl before you file suit may not be collectible For
example, if you were underpaid under the EPA for work performed from 7/1/08 to t2l1l08, you should file suit
before 'r'l’lliO - nol 12/1/10 --in order to recover unpaid wages due for July 2008_ This time limit for filing an EPA
suit is separate from the 90_-day filing per_igd un_,_c_l_er Tltie Vll the ADA_MGlNA_or the_AD_EA referred to above_

" Therefore, if you also plan to sue under Tltle Vil, the ADA, GlNA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice B within the 2» or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Tifle Vll, the ADA Ol‘ GlNAZ

if you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. Distrlct Court having jurisdiction
in your case may, in limited circumstances assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. Distrlct Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the QO-day period mentioned above,
because such requests do _r£t relieve you of the requirement to bring suit within 90 days_ ~

ATTORNEY REFERRAL AND EEOC AssisTANcE -- All Statutes:

You may contact the EEOC representative shown on your Notice ifyou need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S_ Distrlct Couit can hear your case. lf you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request lt promptly in writing and provide
your charge number (as shown on your Notlce). White EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be

made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMFLA!NT TO THlS OFFICE.

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EEOC Form 5[11l09)

 

 

 

 

 

CHARGE OF D |SCR|M] NAT| ON Charge Presented To; Agency(ies) Charge No(s):
This form is arrested by the Privacy Aci of 1974 see enclosed Privaey Aci [ FEPA ts-cRD-osn
Statement and other information before completing this form.
|: secs 435-2017-00671
NC Office Of Administrative Hearings and EEOC
State or local Agency, if any
Name (indicate Mr., Ms., Mrs.) Home Phone jincl. Area Coo'e) Date of Birth
Mrs. Maiia S. Chrisp (336) 228-1675 1965

 

 

 

Si.reet Ado`ress City. State and ZiP Code

2906 Crestwood Ct, Buriington, NC 27215

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Govemment Agency That l Believe
Discriminated Against l\lle or Others. (lf more than two, list under PARTICULARS below.)

 

 

 

 

Narne No. Employees. Members Phone No. (lnclude Area Code,l
uNc cHAPEL. HiLL (cB #9160) 500 or More (919) 445-3576
Street Address City, State and ZlP Code

137 East Franklin St; Suite 404, Campus Box 9160, Chapel Hili, NC 27599

 

blame No. Errrpioyees, Members Phone No. (lnclude Area Code)

 

 

 

Street Address City, State and ZiP Code

 

DATE(S} DlSCRiMiNATlON TOOK PLACE
Earliest Latest

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RETAuATioN |::| AsE I:| DisAsiurv |::l GENETiciNFonMATioN

[:] oTHER(specily) NCGS 7A-759(b1) CONTlNuiNs AcTioN

DISCRiMiNATlON BASED ON (Check appropriate box(es).)

 

 

THE PART|CULARS ARE (lf additional paper is needed attach extra sheei(s)):

AMENDED CHARGE TO iNCLUDE STATE STATUTES

l believe that l am, and continue to be discriminated against in violation of Title Vll of
the Civil Rights Act of 1964, as amended; and pursuant to Chapter 7A-759 (b‘i) of the
North Carolina General Statutes.

 

 

i want this charge tried with both the EEOC and the state or local Agency, if any i NOTAF<Y - When necessary for State and chaiAgency Requirements
will advise the agencies iii change my address or phone number and l will
cooperate fully with them in the processing of my charge in accordance with their

 

 

 

procedures' i swear or affirm that l have read the above charge and that it is true to
l declare under penalty of perjury that the above is true and correct the best of my knowledge information and belief.
S|GNATURE OF COMPIAZNANT

SuBscRisED AND sWORN TO BEFORE ME Ti-iis DATE
(month. day, year)

 

Dafe Charging Parly Signafure

 

 

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